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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

DARIN J. PULST,
                                              NO.: CV-19-48-GF-JTJ

               Plaintiff,
vs.
                                                           ORDER
ANDREW SAUL, Commissioner,

               Defendant.


               Plaintiff Darin J. Pulst, by and through his attorney, John E.

Seidlitz, Jr., moves for attorney’s fees incurred in prosecuting his Social

Security appeal pursuant to the Social Security Act, 42 U.S.C. §406(b). He

requests fees in a reduced amount of $9,400.00, less than the $12,407.14 in

attorney’s fees accrued for 60.95 hours worked in this case. Counsel for

Defendant, Martha A. Boden, has been contacted and does not oppose

Plaintiff’s application for fees request.

      Upon Plaintiff’s Motion for fees under the Social Security Act, 42

U.S.C. §406(b), and for good cause showing:

      IT IS ORDERED that Plaintiff’s Motion for Attorney’s Fees is

GRANTED. Plaintiff is awarded fees under 42 U.S.C. §406(b) in the

amount of $9,400.00.



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      DATED this 29th day of September, 2021.




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